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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 12-422V
                                      Filed: January 24, 2014
                                        Not for Publication


*************************************
LILLIAN RANDALL,                          *
                                          *
             Petitioner,                  *      Damages decision based on stipulation;
                                          *      trivalent influenza vaccine; neurological
 v.                                       *      demyelinating injury
                                          *
SECRETARY OF HEALTH                       *
AND HUMAN SERVICES,                       *
                                          *
             Respondent.                  *
                                          *
*************************************
Ronald C. Homer, Boston, MA, for petitioner.
Melonie J. McCall, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

        On January 24, 2014, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges that she suffered a neurological
demyelinating injury that was caused by her November 11, 2010, receipt of trivalent influenza
vaccine. Petitioner further alleges that she suffered the residual effects of this injury for more
than six months. Respondent denies that petitioner suffered a demyelinating neuropathy, GBS,
CIDP, axonal neuropathy, or any other injury that was caused by her influenza vaccine.
Nonetheless, the parties agreed to resolve this matter informally.

1
  Because this unpublished decision contains a reasoned explanation for the special master's action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document=s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards:

    a. a lump sum of $125,000.00, representing compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a). The award shall be in the form of a check for
       $125,000.00 made payable to petitioner; and

    b. a lump sum of $2,244.88, representing reimbursement of a Commonwealth of
       Massachusetts Medicaid lien. The award shall be in the form of a check for $2,244.88
       made payable jointly to petitioner and

                        Commonwealth of Massachusetts-CRU
                        P.O. Box 15205
                        Worcester, MA 01615-0205
                        Case Number: CRG325112
                        ATTN: Ms. Jean Rooney

        Petitioner agrees to endorse this check to the appropriate State agency.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: January 24, 2014                                                            s/ Laura D. Millman
                                                                                      Laura D. Millman
                                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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